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   MARC L. ABRAMOWITZ
13
                               UNITED STATES DISTRICT COURT
14
                            NORTHERN DISTRICT OF CALIFORNIA
15
                                   SAN FRANCISCO DIVISION
16
     In re Ex Parte Application of                CASE NO.: 3:18-mc-80132-JSC
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     PALANTIR TECHNOLOGIES INC.,
                                                  DECLARATION OF STEPHEN L.
18                                                WOHLGEMUTH IN SUPPORT OF
           Applicant,
                                                  MARC L. ABRAMOWITZ’S
19                                                OPPOSITION
   For an Order Pursuant to 28 U.S.C. § 1782 to
20 Obtain Discovery from MARC L.
   ABRAMOWITZ for Use in Foreign
21 Proceedings.

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     WOHLGEMUTH DECL. ISO ABRAMOWITZ'S OPP.                             3:18-MC-80132-JSC
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 1          I, Stephen L. Wohlgemuth, hereby declare as follows:
 2          1.     I am an attorney at the law firm of Williams & Connolly LLP, which is counsel of
 3 record (pro hac vice forthcoming) for Marc L. Abramowitz (“Abramowitz”) in the above-

 4 captioned matter. I make this declaration based on my own personal knowledge, and if called upon

 5 to do so, could and would testify competently thereto.

 6          2.     On May 5, 2017, Palantir Technologies Inc. (“Palantir”) filed a second amended
 7 complaint (“SAC”) against Abramowitz, the Marc Abramowitz Charitable Trust No. 2, and KT4

 8 Partners LLC (“KT4”) in the Superior Court of the State of California for the County of Santa

 9 Clara (Case No. 16-cv-299476) (the “California Action”). Attached hereto as Exhibit A is a true

10 and correct copy of the SAC.

11          3.     On February 13, 2018, the parties to the California Action appeared at a hearing
12 before Judge Mary E. Arand. Attached hereto as Exhibit B is a true and correct copy of the

13 transcript of the February 13, 2018 proceedings.

14          4.     On September 4, 2018, the California Superior Court in the California Action
15 entered an Order Continuing the Stay of Discovery in the California Action. Attached hereto as

16 Exhibit C is a true and correct copy of the Notice of Entry of Order and the court’s Order.

17          5.     On July 16, 2018, KT4 filed a brief filed with the Delaware Supreme Court.
18 Attached hereto as Exhibit D is a true and correct excerpt from KT4’s Delaware Supreme Court

19 brief.

20          6.     On October 20, 2015, Abramowitz filed an international application with the World
21 Intellectual Property Organization for “Dynamic Security Rating for Cyber Insurance Products.”

22 Attached hereto as Exhibit E is a true and correct copy of that application.

23          7.     On October 20, 2015, Abramowitz filed a patent application with the United States
24 Patent and Trademark Office for “Dynamic Security Rating for Cyber Insurance Products” (the

25 “U.S. application”). Attached hereto as Exhibit F is a true and correct copy of Abramowitz’s U.S.

26 application.

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     WOHLGEMUTH DECL. ISO ABRAMOWITZ'S OPP.                                          3:18-MC-80132-JSC
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 1         8.     Attached hereto as Exhibit G is a true and correct copy of an August 2012 Preferred
 2 Stock Transfer Agreement between Palantir, the Marc Abramowitz Charitable Trust No. 2, and

 3 another party (excluding exhibits).

 4         9.     On August 1, 2012, an attorney representing Palantir sent an email, attaching an
 5 unexecuted version of the 2012 Transfer Agreement. Attached hereto as Exhibit H is a true and

 6 correct copy of the email and the attachment (excluding exhibits).

 7         10.    Attached hereto as Exhibit I is a true and correct copy of the California Superior
 8 Court’s Order Re: Demurrer to the Second Amended Complaint, along with a Notice of Entry of

 9 Order, which was issued on August 11, 2017.

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     WOHLGEMUTH DECL. ISO ABRAMOWITZ'S OPP.                                          3:18-MC-80132-JSC
       Case 3:18-mc-80132-JSC Document 16-6 Filed 09/07/18 Page 4 of 4



 1         I declare under penalty of perjury under the laws of the United States of America that the

 2 foregoing is true and correct.
 3         Executed on September 7, 2018 in Washington, DC.

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 5                                                  Stephen L. Wohlge
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